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 8                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA
 9

10                                                No. 16-00086
      UNITED STATES OF AMERICA,
11                                                MOTION TO PROHIBIT THE
                   Plaintiff,                     ANCHORAGE CORRECTIONAL
12                                                COMPLEX FROM VIDEOTAPING
            vs.                                   CONFIDENTIAL ATTORNEY CLIENT
13                                                AND DEFENSE TEAM VISITS WITH
      JOHN PEARL SMITH, II,                       THE CLIENT
14             Defendant.

15

16                                         I. MOTION

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            Comes now the defendant John Pearl Smith, II and moves to immediately prohibit
18
     the videotape or audiotaping of defense team meetings between John Pearl Smith, II and
19
     any members of the defense team during visits at the Anchorage Correctional Complex.
20
                                II. GROUNDS FOR THIS REQUEST
21

22          On information and belief, based upon the docket in United States v. Kit Kjarala,

23   18 CR 00072 and other public information, the defense believes that that Anchorage

24   Correctional Complex West has been videotaping - and perhaps audiotaping - meetings

25   between John Pearl Smith, II and members of his defense team. Smith is seeking additional
       MOTION TO PROHIBIT AUDIO AND
                                                               LAW OFFICE OF SUZANNE LEE ELLIOTT
       VIDEOTAPING BETWEEN SMITH AND HIS                               1300 Hoge Building
       DEFENSE TEAM - 1                                                705 Second Avenue
                                                                Seattle, Washington 98104-1705
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 1   discovery regarding these matters. However, because counsel has some information that

 2   audiotaping did occur during attorney client visits in 2016 and some information that the

 3   videotaping continues1, and because his defense team must continue to meet with Mr.

 4   Smith, he asks for an immediate order prohibiting any video or audiotaping of visits (to

 5   the extent that is occurring) between Smith and any member of his defense team including

 6   investigators, mitigation specialists and other professionals. Smith may bring further

 7   motions once further discovery is completed.

 8            Smith was arrested on June 22, 2016 and jailed at the Anchorage Correctional

 9   Complex West. He was arraigned, and counsel was appointed on June 29, 2016. Second

10   counsel was appointed in September 2016. Counsel, investigators and other members of

11   the defense team have been meeting with Smith the Anchorage Correctional Complex

12   West ever since June 2016.

13            Counsel has reasonable, reliable information to believe that up until at least

14   November 1, 2016, the Anchorage Correctional Complex West had the ability to - and did

15   - audio record meetings between counsel and clients in at least one visiting room in the jail.

16   Counsel also has reasonable, reliable information that at all times since Mr. Smith has been

17   incarcerated, the Anchorage Correctional Complex West has videotaped some or all of his

18   visits with his defense team.

19            A defendant’s unfettered and private ability to consult with counsel is essential to

20   secure the fundamental right to due process and the protections of the Sixth Amendment.

21   Strickland v. Washington, 466 668, 684-85. See also, Mangiaracina v. Penzone, 849 F.3d

22   1191, 1198 (9th Cir. 2017). Conferences between counsel and the defendant are within the

23

24   1
      Current Alaska DOC policy states only that the institution may not monitor conversations between an
25   attorney and client “without a prior court order.” Policy 808.01.VII(3)(b).
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 1   scope of the attorney-client privilege, the oldest of the privileges for confidential

 2   communications known to the common law. Upjohn Co. v. United States, 449 U.S. 383,

 3   389 (1981). The attorney-client privilege extends to confidential disclosures by a client to

 4   an attorney made in order to obtain legal assistance. Fisher v. United States, 425 U.S. 391,

 5   402 (1976). It also extends to “at least those attorneys to client communications which

 6   would have tendency to reveal the confidences of the client.” In re Grand Jury

 7   Proceedings, 616 F. 3rd 1172, 1182) (10th Cir. 2010).

 8          Any conduct by the Government in eavesdropping upon the private consultations

 9   between the defendant and his attorney would deprive him of its right to effective counsel,

10   State v. Cory, 62 Wash. 2d 371, 378, 382 P.2d 1019, 1023 (1963).

11          The same is true with visual monitoring. In Case v. Andrews, 226 Kan. 786 (Kan.

12   1979), the Kansas Supreme Court held that the Lyon County jail policy of visually

13   monitoring all consultations between attorneys and clients is an unreasonable interference

14   with the right to confidential attorney-client communications. The confidentiality of

15   communications between an attorney and his client should be carefully protected by the

16   courts. Id. at 790. Because “absent a showing of any risk to the order or security of the jail,

17   the practice of visually monitoring an attorney-client conference when privacy is

18   requested, is unreasonable. Such unreasonable interference violates an accused's Sixth

19   Amendment right to effective representation by counsel.” Id. at 791. See also State v.

20   Walker, 804 N.W.2d 284, 295 (Iowa 2011) (“in the absence of any individualized showing

21   of a safety or security risk video surveillance violates an arrestee's right to ‘see and consult

22   confidentially’ with his attorney ‘alone and in private.’”); People v. Dehmer, 931 P.2d 460,

23   463 (Colo.App. 1996)(finding the prison's policy of videotaping attorney-client

24   conferences was unlawful); State v. Sherwood, 174 Vt. 27, 800 A.2d 463, 466 (2002)

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 1   (“The tape itself is evidence that defendant's conversation with counsel was not, in fact,

 2   private.”).2

 3                                               IV. CONCLUSION
 4
              Based upon the above, the defendant respectfully requests that this Court to order
 5
     the Anchorage Correctional Complex West to immediately cease any audio or videotaping
 6
     of defense team visits with Mr. Smith.
 7          DATED this 6th day of December 2018.
 8                                                           /s/Suzanne Lee Elliott
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                                                             /s/Mark Larranaga
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                                                             Seattle WA 98104
19

20
                                         CERTIFICATE OF SERVICE
21

22
     2
       A recent law review article summarizes the law and issues surrounding improper intrusions into the
23   attorney-client relationship in the prison setting, including litigation concerning this issue in United States v.
     Black, 2:16-cr-20032-JAR, Kansas. Peter A. Joy & Kevin C. McMunigal, When Does Monitoring
24   Defendants and Their Lawyers Cross the Line?, Crim. Just., Winter 2017, at 46.

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            I, SUZANNE LEE ELLIOTT, certify that on December 6th, 2018, I filed the
 1
     foregoing document with the United States District Court’s Electronic Case Filing
 2

 3   (CM/ECF) system, which will serve one copy by email on Assistant United States

 4   Attorneys FRANK V. RUSSO, WILLIAM A. TAYLOR, JAMES NELSON AND

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